8:03-cr-00290-RFR-SMB          Doc # 287       Filed: 09/09/05     Page 1 of 2 - Page ID # 2520




                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                        8:03CR290
                                    )
            v.                      )
                                    )
KEVIN BIRDINE,                      )                         ORDER
                                    )
                  Defendant.        )
____________________________________)


               On September 8, 2005, defendant appeared through counsel on a motion for

reduction of sentence (Filing No. 284), filed by the plaintiff, pursuant to Rule 35 of the Federal

Rules of Criminal Procedure. After considering the comments of the parties and after evaluating

the assistance provided by the defendant, the Court finds that the government’s motion for

reduction of sentence should be granted.

               IT IS ORDERED:

               1) The government’s motion for reduction of sentence is granted.

               2) Defendant be committed under Count I of the Indictment to the custody of the

Bureau of Prisons for a term of sixty (60) months. The defendant is also committed under Count

II of the Indictment to the custody of the Bureau of Prisons for a term of sixty (60) months to run

concurrently to the sentence imposed under Count I. This sentence shall run concurrent to the

sentence already imposed at Docket 8:CR500. Defendant is to be given credit for time

previously served under the previous Judgment and Committal Order dated March 10, 2004,

which was signed and filed on March 10, 2004 (Filing No. 69).
8:03-cr-00290-RFR-SMB         Doc # 287      Filed: 09/09/05        Page 2 of 2 - Page ID # 2521




               3) All other terms and conditions of the Judgment and Committal Order dated

March 10, 2004, remain in full force and effect.

               4) That the transcript of the Rule 35 hearing of September 8, 2005, be sealed.

               DATED this 9th day of September, 2005.

                                                       BY THE COURT:

                                                       /s/ Lyle E. Strom

                                                       LYLE E. STROM, Senior Judge
                                                       United States District Court




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